          Case 1:17-cv-12530-RGS Document 37 Filed 06/11/18 Page 1 of 4



                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


CARROLLTON FAMILY CLINIC, LLC, a                   Case No. 1:17-cv-12530-RGS
Mississippi Limited Liability Company, and
PERRIN CURRAN, M.D., an individual,

                       Plaintiffs,

               v.

ECLINICALWORKS, LLC, a Delaware
Limited Liability Company,

                       Defendant.



              FIRST JOINT STATUS REPORT REGARDING ARBITRATION

       Pursuant to the Court’s May 17, 2018 Electronic Order directing the parties to file regular

status reports regarding their arbitration proceedings, the parties hereby file this joint report.

Following the Court’s March 29, 2018 Order granting eClinicalWorks, LLC’s Motion to Compel

Arbitration, the parties met and conferred in good faith and exchanged proposals regarding the

rules and procedures that the parties will follow. The parties are working to finalize an

agreement concerning the applicable rules and procedures, and intend to exchange proposed

arbitrators. If the parties cannot reach an agreement regarding the selection of an arbitrator after

meeting and conferring in good faith, they have agreed upon a procedure whereby an arbitrator

will be appointed through the assistance of JAMS. All parties are working in good faith to

proceed with arbitration.
        Case 1:17-cv-12530-RGS Document 37 Filed 06/11/18 Page 2 of 4



Dated: June 11, 2018
                                Respectfully Submitted:

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                                       2
Case 1:17-cv-12530-RGS Document 37 Filed 06/11/18 Page 3 of 4



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                               3
         Case 1:17-cv-12530-RGS Document 37 Filed 06/11/18 Page 4 of 4



                                CERTIFICATE OF SERVICE

       I hereby certify that on June 11, 2018, I filed a copy of the foregoing by electronic means
with the United States District Court for the District of Massachusetts using the CM/ECF system,
which will send notification to counsel of record.

                                              By: /s/ John Roddy
                                                      John Roddy




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